 Fill in this information to identify the case:                                                           FILED
                                                                                              Western District of Washington
                                                                                                       at Seattle
  United States Bankruptcy Court for the:
                                                                                                      JUL 2 1 2023

                                                                                              GINAZADRA WALTON, CLERK □                Check it this is an
                                                                                              OF THE BANKRUPTCY COURT                  amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           os,22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1.   Debtor's name
                                                                                                ()
 2.   All other names debtor used
      In the last 8 years
      Include any assumed names,
      trade names, and doing business
      as names




 3.   Debtor's federal Employer
      Identification Number (EIN)



 4.   Debtor's address                      Principal place of business                                   Mailing address, if different from principal place
                                                                                                          of business

                                            w9:Ll
                                            Number
                                                            fuV\ ~11,:KJ3c
                                                            Street
                                                                                                           \J17 fut\i~0-'B\)/4,
                                                                                                          Number      Street

                                                                                                                     ~~9
                                            Q" _\              I ,.   't~.J..l)        I -I     Q
                                                                                  ~ LJl/!t t~8lf _~lj_.d \AC:\-cn LL.,9 962.-5''3
                                                                                                          P.O. Box

                                             dt-Cld>           LJ!-i;V
                                            City                                  ~       ZIP Code        City             J          State       ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business


                                                                                                          Number      Street




                                                                                                          City                        State       ZIP Code




 5.   Debtor's website (URL)




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
                                                                                                                                                             f
             Case 23-11331-TWD                       Doc 1           Filed 07/21/23            Ent. 07/21/23 09:12:36            Pg. 1 of 8
Debtor                                                                                          Case number (if known) _ _ _ _ _ _ _ _ _ _ _ __



                                          ~orporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6.   Type of debtor
                                          D   Partnership (excluding LLP)
                                          D   other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                          A. Check one:
 7.   Describe debtor's business
                                          D   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          ~ingle Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                          D   Railroad (as defined in 11 U.S.C. § 101 (44))
                                          D   Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                          D   Commodity Broker (as defined in 11 U.S.C. § 101 (6))
                                          D   Clearing Bank (as defined in 11 U.S.C. § 781 (3))
                                          D   None of the above


                                          B. Check all that apply:
                                          D Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          D Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                          D   Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/fou r-digit-national-association-naics-codes .



 s. Under which chapter of the            Check one:
      Bankruptcy Code ls the
      debtor filing?                      D   Chapter 7
                                          D   Chapter 9
                                          ~hapter 11. Check all that apply:
      A debtor who is a "small business
      debtor" must check the first sub-                    D   The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51 D), and its
      box. A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182( 1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                         recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
      "small business debtor") must                            11 U.S.C. § 1116(1 )(8).
      check the second sub-box.                            D   The debtor is a debtor as defined in 11 U.S.C. § 1182(1 ), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                               Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return, or if
                                                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                               § 1116(1)(8).

                                                           D   A plan is being filed with this petition.

                                                           D   Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           D   The debtor is required to file periodic reports (for example, 1OK and 1OQ) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           D   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                          D   Cha ter 12




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2


             Case 23-11331-TWD                  Doc 1        Filed 07/21/23              Ent. 07/21/23 09:12:36               Pg. 2 of 8
Debtor                                                                                      Case number (it known). _ _ _ _ _ _ _ _ _ _ _ _ __



 9.   Were prior bankruptcy cases       • ~0
      filed by or against the debtor
      within the last 8 years?          D Yes.     District _ _ _ _ _ _ _ _ _ When _ _ _ _ _ _ Case number _ _ _ _ _ _ _ __
                                                                                   MM/ DD /YYYY
      If more than 2 cases, attach a
                                                   District _ _ _ _ _ _ _ _ _ When _ _ _ _ _ _ Case number _ _ _ _ _ _ _ __
      separate list.
                                                                                   MM/ DD /YYYY


 10. Are any bankruptcy cases           )(No
      pending or being filed by a
      business partner or an            D Yes.     Debtor _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Relationship
      affiliate of the debtor?                     District _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ When
      List all cases. If more than 1,                                                                                         MM /    DD      /YYYY
      attach a separate list.                      Case number, if known _ _ _ _ _ _ _ _ _ _ __



 11. Why is the case filed in this      Check all that apply:
      district?
                                        'i2lpebtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                        D   A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have        □ No
      possession of any real            ~Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs Immediate                       Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                 D   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                 D   It needs to be physically secured or protected from the weather.

                                                 D   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                 'bf. Other ::17:>:-re CJ. C§LJX:l

                                                 Where is the property?      [./!2\.'\ :::UV\ Sl-t JPtdL 1=}y.
                                                                            Number          Street



                                                                                                                           ~T'8284
                                                                                                                             State ZIP Code


                                                 Is the property insured?

                                                ~No
                                                 D   Yes. Insurance agency _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                          Contact name

                                                          Phone




              Statistical and administrative information




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 3


              Case 23-11331-TWD               Doc 1        Filed 07/21/23             Ent. 07/21/23 09:12:36                   Pg. 3 of 8
Case 23-11331-TWD   Doc 1   Filed 07/21/23   Ent. 07/21/23 09:12:36   Pg. 4 of 8
Case 23-11331-TWD   Doc 1   Filed 07/21/23   Ent. 07/21/23 09:12:36   Pg. 5 of 8
Case 23-11331-TWD   Doc 1   Filed 07/21/23   Ent. 07/21/23 09:12:36   Pg. 6 of 8
Case 23-11331-TWD   Doc 1   Filed 07/21/23   Ent. 07/21/23 09:12:36   Pg. 7 of 8
Case 23-11331-TWD   Doc 1   Filed 07/21/23   Ent. 07/21/23 09:12:36   Pg. 8 of 8
